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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION

  DAMIAN ORLOWSKI, et al.,

         Plaintiffs on behalf of themselves
         and all other similarly situated,

  v.                                                    No. 2:11-cv-01396
                                                        JURY DEMANDED

  LARRY BATES, et al.

         Defendants.



                                   RECEIVER’S FINAL REPORT


         John L. Ryder, as the Receiver for Information Radio Network, Inc. (“IRN”), First

  American Monetary Consultants, Inc. and FAMC PM, LLC (together “FAMC”) (collectively the

  “Receivership Entities”), submits his final report to the Court.

         1.      The Court entered its order Terminating the Receivership and Discharging the

  Receiver on May 4, 2020 (ECF No. 1099).

         2.      Pursuant to the order, the deadline to file objections to termination and discharge

  of the Receiver was May 25, 2020. No objections have been received by the Receiver or filed

  with the Court.

         3.      The Receiver has completed final administrative tasks including notice to

  creditors, resignation as registered agent for First American Monetary Consultants in Tennessee,

  dissolution of First American Monetary Consultants in Colorado, and discharge of the registered

  agent for FAMC PM LLC.
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         4.        In April 2020, the Receiver’s money market account earned interest in the amount

  of $124.81. This amount was transferred to the operating account and the money market account

  was closed. The Receiver also transferred the $1,274.00 balance from his firm’s escrow account

  to the Receiver’s operating account

         5.        In June 2020, the Receiver paid administrative fees in the amount of $5,559.00

  and expenses in the amount of $27.95.

         6.        The balance in the Receiver’s account on June 30, 2020 was $14,537.86.

         7.        Outstanding expenses for dissolution and winddown of the Receivership Entities

  total $709.50

         8.        On the payment of final fees and expenses, remaining funds will be transferred to

  class counsel.

         9.        The Receiver has identified no further activities necessary to effectuate the

  termination of the Receivership.

                                        Respectfully submitted,

                                        HARRIS SHELTON HANOVER WALSH, PLLC

                                         BY:            s/ Laura S. Martin
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                                 CERTIFICATE OF SERVICE

         I certify that on August 3, 2020, the foregoing document was served on counsel of record
  for Plaintiffs through the CM/ECF system, via US Mail to Barbara Bates to her last known
  address (current mailing address unknown), and via US Mail to the following:

  Kinsey Bates # 29635-076
  FCI ALICEVILLE
  FEDERAL CORRECTIONAL INSTITUTION
  P.O.BOX 4000
  ALICEVILLE, AL 35442

  Robert Bates #27606-076
  FCI MEMPHIS
  FEDERAL CORRECTIONAL INSTITUTION
  P.O, BOX 34550
  MEMPHIS, TN 38184

  Larry Bates #27604-076
  FCI BUTNER LOW
  FEDERAL CORRECTIONAL INSTITUTION
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  Chuck Bates #27605-076
  FCI YAZOO CITY LOW
  FEDERAL CORRECTIONAL INSTITUTION
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  YAZOO CITY, MS 39194


                                                     s/ Laura S. Martin
                                                     Laura S. Martin




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